Case 2:17-cv-04059-MCS-JEM Document 488 Filed 09/28/22 Page 1 of 2 Page ID #:11875

                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                                                     CASE NUMBER:


    GEORGE TORRES, et al.                                              2:17−cv−04059−MCS−JEM
                                                     Plaintiff(s),

             v.
    HAROLD IGDALOFF, et al.
                                                                       NOTICE TO FILER OF DEFICIENCIES IN
                                                   Defendant(s).       ELECTRONICALLY FILED DOCUMENT




    PLEASE TAKE NOTICE:

    The following problem(s) have been found with your filed document:

    Date Filed:         9/28/2022
    Document No.:             487
    Title of Document:             stipulated final judgment
    ERROR(S) WITH DOCUMENT:

    Proposed document was not submitted or was not submitted as a separate attachment.

    L.R. 58−10 at least 2 lines of text must accompany the Signature Line for Signature of Judge on a last page of
    proposed order or judgment

    The filing was combined stipulated final judgment wherein "it is so ordered" stands alone on page 11 of the 24
    page document... instead of submitting a separate formal judgment as a separate attachment.




    Other:

    Note:    In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
             document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in
             response to this notice unless and until the Court directs you to do so.


                                                          Clerk, U.S. District Court

    Dated: September 28, 2022                             By: /s/ Linda Chai Linda_Chai@cacd.uscourts.gov
                                                             Deputy Clerk

    cc: Assigned District Judge and/or Magistrate Judge



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Case 2:17-cv-04059-MCS-JEM                Document 488 Filed 09/28/22 Page 2 of 2 Page ID #:11876
        Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




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